                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                                 Chapter 11
VRG LIQUIDATING,LLC,et al.,'
                                                                 Case No. 16-10971 (LSS)
                                   Debtors.                      (Jointly Administered)

                                                                 Reiatea Docket No.2009

SC LIQUIDATING 2, LLC f/k/a SPORT
CHALET,LLC,

                                   Plaintiff,

                  v.

AMPAC Enterprises, Inc. d/b/a All-Star Sporting                    N/A
Goods,
LEEMARC Industries, LLC d/b/a Canari Cycle                         N/A
Wear,
Database Marketing Group, Inc.,                                    Adv. Proc. No. 18-50395 (LSS)
                                                                   Related Docket No. 18
Kurt Salmon US LLC and Accenture LLP,                              Adv. Proc. No. 18-50706(LSS)
                                                                   Related Docket No. 7
Yesmail, Inc.,                                                     Adv. Proc. No. 18-50700(LSS)
                                                                   Related Docket No.7
Sole Technology, Inc.,                                             Adv. Proc. No. 18-50386(LSS)
                                                                   belated Docket No. 14
Express Messenger Systems, Inc. d/b/a Ontrac,                      Adv. Proc. No. 18-50393(LSS)
                                                                   Related Doct~et No.27
Sierra-At-Tahoe LLC,                                               Adv. Proa No. 18-506$6(LSS)
                                                                   Related Docket No.7
Facility Solutions Group, Inc.                                     Adv. Pro No. 18-50392(LSS)
                                                                   Related Docket No. 15
                                    Defendants.



i The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
VRG Liquidating, LLC(f/Wa Vestis Retail Group, LLC)(1295); VRF Liquidating, LLC (f/k/a Vestis Retail
Financing, LLC)(9362); EMSOC Liquidating, LLC (f/k/a EMS Operating Company,LLC)(2061); VIH
Liquidating, LLC (f/k/a Vestis IP Holdings, LLC)(2459); BS Liquidating, LLC (f/k/a Bob's Stores, LLC)(4675);
EMSA Liquidating, LLC (f/k/a EMS Acquisition LLC)(0322); SC Liquidating 2, LLC (f/k/a Sport Chalet, LLC)
(0071); SCVS Liquidating, LLC (f/k/a Sport Chalet Value Services, LLC)(7320); and SCTS Liquidating, LLC
(f/k/a Sport Chalet Team Sales, LLC)(8015). The Debtors' executive headquarters are located at 160 Corporate
Court, Meriden, CT 06450.


DOGS DE219747.14 89901/002
                                  AFFIDAVIT OF SERVICE


STATE OF DELAWARE                    )
                                     )SS:
COUNTY OF NEW CASTLE                 )

                Karina Yee, being duly sworn according to law, deposes and says that she is

employed by the law firm of Pachulski Stang Ziehl &Jones LLP,counsel to SC Liquidating 2,

LLC f/k/a Sport Chalet, LLC,in the above-captioned actions, and that on the 3rd day of

October, 2018, she caused a copy of the following documents)to be served upon the

individuals) on the attached service lists) in the manner indicated:

                [Signed] Order Granting Debtors' First Omnibus Motion Pursuant to Fed.
                R. Bankr. P.9019 for an Order Appro~~ing Settlements



                                                      Karma Yee

Sworn to and subscribed before
me this ~   day of October, 2018
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VRG —Service List re First 9019 Motion re   First Class Mail
Avoidance Actions                           (Counsel to AMPAC Enterprises, Inc. d/b/a
Case No. 16-10971 (LSS)                     All-Star Sporting Goods)
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